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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS

     HSM PORTFOLIO LLC AND
     TECHNOLOGY PROPERTIES
     LIMITED LLC,
                                                     No. 3:14-mc-80-N (BF)
                            Plaintiffs,

     v.
     FUJITSU LIMITED, ET AL.,

                            Defendants.

                           DR. PING GUI’S OPPOSITION TO
                     PLAINTIFFS’ MOTION FOR RECONSIDERATION


I.        INTRODUCTION

          Plaintiffs’ argument for reconsideration is based on a purely hypothetical assertion—

“new circumstances that have not yet developed” could materialize which would somehow

justify a deposition of Dr. Gui. (Doc. 13, Pls.’ Mot. for Recons. at 3.) Though these new

unformed circumstances are only vaguely described, what remains clear is that a deposition of

Dr. Gui would still subject her to the risk of violating the protective order from the Caltech

matter. (See Doc. 12, Order at 3.) The Court correctly relied on this risk in rejecting Plaintiffs’

original attempt to depose Dr. Gui, and nothing Plaintiffs present here remotely supports

reconsideration.

          Plaintiffs unduly burden Dr. Gui once again by filing this present motion, which

unjustifiably requests the Court “relax” its Order to “permit Plaintiffs to contact Dr. Gui’s

attorneys and confer with them”—i.e., re-litigate another non-party subpoena—”in the event

Plaintiffs believe ‘changed circumstances or new situations’ make Dr. Gui’s testimony




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necessary,” effectively, at Plaintiffs’ discretion. (Doc. 13 at 3.) Such a request finds no support

in the law, and would eviscerate the Order properly granted by this Court.

II.    LEGAL STANDARDS

       Although Rule 54(b) applies to reconsideration of interlocutory orders, considerations of

Rule 59 inform the Rule 54(b) analysis. See Dos Santos v. Bell Helicopter Textron, Inc. Dist.,

651 F. Supp. 2d. 550, 553 (N.D. Tex. 2009). “A Rule 59(e) motion ‘calls into question the

correctness of a judgment.’ . . . [S]uch a motion is not the proper vehicle for rehashing evidence,

legal theories, or arguments that could have been offered or raised before the entry of judgment.”

Templet v. HydroChem Inc., 367 F.3d 473, 478-79 (5th Cir. 2004). “Reconsideration of a

judgment after its entry is an extraordinary remedy that should be used sparingly.” Id. at 479.

III.   ARGUMENT

       A.      There is no manifest injustice to Plaintiffs.

       The only basis on which Plaintiffs seek reconsideration is “to prevent manifest injustice.”

(Doc. 13 at 1-2.) But Plaintiffs present no legal authority on what constitutes manifest injustice,

much less any meaningful argument that manifest injustice would occur.

       Although “[t]he term ‘manifest injustice’ eludes precise definition . . . ‘manifest injustice’

must entail more than just a clear and certain prejudice to the moving party, but also a result that

is fundamentally unfair in light of governing law.” Slate v. Am. Broadcasting Cos., Inc., No. 09-

1761, 2013 WL 6713178, at *3 (D.D.C. Dec. 20, 2013) (citations omitted).

       First, “clear and certain prejudice” cannot be shown here. Plaintiffs’ manifest injustice

argument boils down to “something might happen in the future,” far from a showing of clear and

certain prejudice. (See Doc. 13 at 3 (concluding “Precluding any future subpoena under even

new circumstances that have not yet developed . . . would be a manifest injustice to Plaintiffs.”)

If anything, asking this Court to modify its decision on the basis of a hypothetical future scenario

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is tantamount to seeking a prohibited advisory opinion. A genuine case or controversy “must be

definite and concrete . . . as distinguished from an opinion advising what the law would be upon

a hypothetical set of facts.” Aetna Life Ins. Co. v. Haworth, 300 U.S. 227, 240-41 (1937). The

ruling Plaintiffs seek is based on a hypothetical scenario: if Plaintiffs are finally “able to view

the schematics the Special Master ordered to be produced” and “the set up appears to differ from

what Dr. Gui previously testified” and questions arise that Dr. Gui may have knowledge on,

would a deposition in that circumstance be warranted? (Doc. 13 at 2.) This is the sort of

hypothetical that seeks advisory opinions.

        Second, there is nothing remotely unfair about this Court’s Order. Plaintiffs argue they

will be prejudiced if they cannot contact Dr. Gui’s attorneys in the event that Plaintiffs deem it

necessary. But the entire point of all the previous briefing on this issue was to obtain a final

ruling from this Court. Plaintiffs’ desired modifications to the Order (which allow Plaintiffs, at

their discretion, to contact Dr. Gui’s attorneys to negotiate for a deposition) would defeat the

entire point of the Order, and lead to renewed motions before this Court on the very issue already

decided. Such endless litigation would only be unfair to Dr. Gui.

        B.      Plaintiffs make a legal distinction where there is none.

        Plaintiffs attempt to fabricate a distinction between this Court’s Order and an “actual

protective order” by characterizing this Court’s Order as a “de facto protective order” that could

never be modified, no matter the circumstances. However, Plaintiffs do not merely seek

clarification about this point of law; rather, Plaintiffs try to parlay this illusory distinction into a

modification to the Order that would allow them free reign to press Dr. Gui’s counsel for a

deposition as if the Order never had been given. And Dr. Gui’s counsel would then, once again,

need to move this Court for a protective order.



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       C.      There is no justification to modify this protective order.

       Although styled as a motion for reconsideration, Plaintiffs appear to argue that

circumstances justifying a modification of the protective order exist, or could soon exist.

However, nothing presented by Plaintiffs gives rise to a basis for modifying the protective order.

       “A court has discretion to modify a protective order it has entered as long as the order

remains in effect.” Peoples v. Aldine Indep. Sch. Dist., No. 06-2818, 2008 WL 2571900 at *2

(S.D. Tex. June 19, 2008).

       In determining whether to modify a protective order, courts consider four factors:
       “(1) the nature of the protective order, (2) the foreseeability, at the time of
       issuance of the order, of the modification requested, (3) the parties’ reliance on
       the order; and most significantly (4) whether good cause exists for the
       modification.”

Id. (quoting Murata Mfg. Co., Ltd. v. Bel Fuse, Inc., 234 F.R.D. 175, 179 (N.D. Ill. 2006))

       Plaintiffs’ quashed deposition sought Dr. Gui’s testimony for the purpose of comparing

what STMicroelectronics N.V. (“ST”) produced in the Caltech matter to what was produced in

the pending HSM matter. This Court properly quashed the deposition and granted the present

protective order on the grounds that (1) the requested information was “only tangentially related

to Plaintiffs’ claims in the Delaware matter, and the benefit of enforcing compliance with the

subpoena is marginal” and (2) a serious burden on Dr. Gui would arise if the deposition

occurred. (Doc. 12 at 3-4.)

       This Court’s reasoning applies with the same force, if not more strongly, to the new

circumstances presented by Plaintiffs.      Nothing of consequence has changed.         The only

development Plaintiffs have identified is that Plaintiffs have prevailed on their motion to compel

in the HSM matter. (Doc. 13 at 2.) But the only consequence of this is to minimize the benefit,

if any, that would arise from deposing Dr. Gui, and also undermine any argument of prejudice to

Plaintiffs, given that Plaintiffs were able to prevail without Dr. Gui’s testimony. Moreover,
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given that the motion to compel was pending at the time this issue was briefed,1 any changed

circumstances arising from the ruling on the pending motion to compel were entirely foreseeable.

        Plaintiffs conclude Dr. Gui’s testimony may be necessary “in the event the set up appears

to differ” from what ST produced in the HSM matter, which appears to refer to the configuration

of the computer on which discovery will be produced in the instant Delaware case as compared

to the production of discovery in the prior Caltech litigation. (Doc. 13 at 2.) This hypothetical is

just more of the same: Plaintiffs, as before, would seek Dr. Gui’s testimony for the purpose of

comparing ST’s production in the present HSM matter to ST’s production in the Caltech matter.

This reason for pursuing the deposition of Dr. Gui was already considered and rejected by this

Court as not outweighing the burden of subjecting Dr. Gui to a non-party deposition. This Court

has fully considered the issues and recognized that a deposition of ST’s expert from a former

case poses an undue risk that she will be put into the untenable position of violating the

protective order from the prior matter, and that risk does not change based on the discovery

Plaintiffs obtain from ST in the HSM matter.

        Rehashed arguments do not provide sufficient justification for either a motion for

reconsideration or modification of the protective order. See Templet, 367 F.3d 473 at 478-79.

To the extent that Plaintiffs now wish to compare the “configuration” of the information on the

computer produced in the HSM matter with the “configuration” of the information on the

computer produced in the Caltech matter, that is a distinction without a difference, because the

instant request and the earlier justification both address comparing production between the two




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  “Plaintiffs anticipate that the deposition of Dr. Gui will yield important testimony that is highly
relevant to positions taken by ST, which relate to a pending motion to compel.” (Doc. 11, Jt.
Stat. Rep., at 11 n.3.)

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cases.2    In any event, a request to compare the “configuration” of the production versus

comparing the production itself—to the extent that is a difference—was also entirely foreseeable

at the time of the order and, therefore, does not raise new issues for consideration now. See

Peoples, 2008 WL 2571900 at *2.

          In sum, Plaintiffs fail to show good cause for modifying the order.

IV.       CONCLUSION

          As this Court already held, subjecting Dr. Gui to a deposition is an undue burden because

a deposition will put her at the untenable risk of violating the protective order from the Caltech

matter. Accordingly, Dr. Gui respectfully requests that this Court deny Plaintiffs’ Motion for

Reconsideration.




DATED: September 2, 2014                       Respectfully submitted,


                                               SIDLEY AUSTIN LLP

                                               _/s/ Thomas N. Tarnay_____________________
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 In the original joint status report, Plaintiffs contended “that the deposition testimony sought
from Dr. Gui is necessary to a comparison of the production made by STMicroelectronics in [the
Caltech matter] for certain image sensor products to the discovery production made by
STMicroelectronics in the HSM matter.” (Doc. 11, Jt. Stat. Rep., at 2.)
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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 2, 2014, all counsel of record who are deemed to have
consented to electronic service are being served with a copy of this document via the Court’s
CM/ECF system pursuant to Local Rule CV-5.1(d).


                                                         /s/ Thomas N. Tarnay _____
                                                         Thomas N. Tarnay




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